                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                 NORTHEASTERN DIVISION


UNITED STATES OF AMERICA

v.                                                   Case No. 2:19-cr-00010
                                                     District Judge William L. Campbell, Jr.

GILBERT R. GHEARING
______________________________________________________________________________

                    DEFENDANT’S RESPONSE TO DOCKET NO. 166

        COMES NOW, Gilbert R. Ghearing, M.D., by and through his retained counsel Ronald W.

Chapman II and Meggan Sullivan and in his response to the Government’s Motion to Admit

Evidence states as follows.

                                       INTRODUCTION

        We can now be absolutely certain that the Government filed an interlocutory appeal

specifically for the purpose of suspending trial, denying Dr. Ghearing of a speedy trial and seeking

a superseding indictment. The Government’s conduct is reprehensible, a violation of the

Constitution and predicated on a false statement made to this Court and the Sixth Circuit Court of

Appeals – that the appeal was not for the purposes of delay. The Government’s instant motion for

an “indicative” ruling is its attempt to tactically abandon its appeal without giving the appearance

that its interlocutory appeal was taken for the sole purpose of obtaining additional time to indict

Dr. Ghearing. This Court should deny the Government’s invitation to take part in its carefully

crafted trampling of Dr. Ghearing’s rights.

                                        BACKGROUND

        After the Government obtained a continuance, as a result of the pending United States

Supreme Court case, Ruan v. United States, trial was set to begin on September 6, 2022, See Order,



     Case 2:19-cr-00010 Document 168 Filed 10/28/22 Page 1 of 5 PageID #: 1094
Doc. No. 87. On September 6, 2022, all parties gathered for a Final Pretrial Conference to address

pending motions in limine for trial beginning on September 13, 2022. Counsel relocated across

state lines to prepare for trial, the Court cleared its schedule, witnesses were subpoenaed, and a

tremendous amount of time and money were exhausted with the hope that this case would finally

come to a conclusion. During its final breaths at the Final Pretrial Conference, the Government

addressed an “elephant in the room”. There was no elephant, at least not one presented based on a

timely motion in limine with sufficient time for the Defendant to prepare a response. Recall, the

Government sought a continuance to address this very issue and did nothing.

        At the final stages of the final pretrial conference, the Government made an oral motion to

admit evidence that Dr. Ghearing “altered records”. Ambushing the Defendant with its motion, it

made no offer of proof showing the alterations, the falsity of the alternations or that the alterations

resulted in any sort of obstruction. The Government had the records in question since at least

October 2021, more than ten (10) months before the trial date. This Court denied the Government’s

motion to introduce evidence of alteration on September 8, 2022. See Order, Doc. No. 158. The

Government filed an interlocutory appeal on September 8, 2022, and certified to the Court that the

appeal was not for the purpose of delay. Based on the Government’s conduct during the final

pretrial conference– we all knew different. The Superseding Indictment was filed on October 17,

2022, prior to briefing on its interlocutory appeal, and immediately after, the Government filed a

motion for an “indicative ruling” attempting to “moot” its appeal and remand for trial now with a

clear shot at introducing the evidence it was prevented from introducing after this Court’s final

pretrial ruling. The Government has engaged in gamesmanship in violation of Dr. Ghearing’s

speedy trial rights.




                                      2
   Case 2:19-cr-00010 Document 168 Filed 10/28/22 Page 2 of 5 PageID #: 1095
   I.      The District Court Is Divested Of Jurisdiction During The Pendency Of An
           Appeal And Fed. R. App. P. 12.1 Is Inapplicable

           a. Interlocutory Appeals Generally

        Interlocutory appeals in criminal cases are disfavored. Nonetheless, a filing of an

interlocutory appeal is an event of jurisdictional significance – it confers jurisdiction on the court

of appeals and divests the district court of its control over those aspects of the case involved in the

appeal. 18 U.S.C. § 3731. As a general rule, the filing of a notice of appeal divests a district court

of authority to proceed with respect to any matter touching upon, or involved in, the appeal. United

States v. Carman, 933 F.3d 614, 67 (6th Cir. 2019).

        Nonetheless, the Government has decided to ignore its own stay – which prevented Dr.

Ghearing from having a speedy trial – and issue a superseding indictment as well as a belated

motion to admit evidence. Doc. No. 159. This is no doubt an effort to supplement the record which

is entirely undeveloped on appeal and to render its appeal moot after it performed an “end around”

this Court and now the Sixth Circuit. As the Court certainly recalls, the Government’s interlocutory

appeal was not from a motion in limine properly before the court but rather a last-minute utterance

at the final moments of a final pretrial conference days before trial. When denying the

Government’s request, the Court decided this maneuver was an unfair surprise to the defendant

and lacked a motion in limine. The Government has no record on appeal and now it is improperly

attempting to manufacture one in clear violation of 18 U.S.C. § 3731. The Court must strike Doc.

No’s. 166 and 165 to prevent perversion of the record before the Sixth Circuit decides the

interlocutory appeal.

           b. Fed. R. App. P. 21.1 Is Expressly Not Applicable to These Circumstances

        Fed. R. Crim. P. 37 governs “indicative rulings” in Federal Criminal Cases. Citing Fed. R.

App. P. 12.1, the Government claims that the Court may issue an indicative ruling stating that “it



                                      3
   Case 2:19-cr-00010 Document 168 Filed 10/28/22 Page 3 of 5 PageID #: 1096
would grant the motion or that the motion raises a substantial issue” once jurisdiction returns to

the Court. Fed. R. App. P. 12.1. However, the Government failed to inform the Court that Rule

12.1 and Fed. R. Crim. P. 37 must be limited to newly discovered evidence motions under Criminal

Rule 33(b)(1), reduced sentence motions under Criminal Rule 35(b), and motions under 18 U.S.C.

§ 3582 (See United States v. Chronic, 466 U.S. 648, 667 n.42 (1984), See also, Fed. R. 12.1 2011

Committee Notes. This case presents none of the limited criminal uses of 12.1 and 37 and the

Government’s position is without support and flies in the face of the explicit language of the

committee notes. There is no rule permitting the Government to seek an advisory district court

opinion to further develop an undeveloped record on appeal. The Government’s request for an

indicative ruling should be denied.

       WHEREFORE Defendant Gilbert R. Ghearing, by and through his undersigned counsel,

respectfully requests that this Honorable Court DENY the Government’s motion.


                                             Respectfully Submitted,
                                             CHAPMAN LAW GROUP


Dated: October 28, 2022                      /s/ Ronald W. Chapman II
                                             Ronald W. Chapman II, Esq., LL.M.
                                             Michigan Bar No. P73179
                                             Counsel for Defendant Ghearing
                                             1441 West Long Lake Road, Ste 310
                                             Troy, MI 48098
                                             T: (248) 644-6326
                                             RWChapman@ChapmanLawGroup.com


Dated: October 28, 2022                      /s/ Meggan B. Sullivan
                                             Meggan B. Sullivan, Esq.
                                             Tennessee Bar No. 33067
                                             Counsel for Defendant Ghearing
                                             424 Church Street, Ste. 2000
                                             Nashville, TN 37219
                                             T: (615) 457-0449
                                             MSullivan@ ChapmanLawGroup.com


                                      4
   Case 2:19-cr-00010 Document 168 Filed 10/28/22 Page 4 of 5 PageID #: 1097
                          CERTIFICATE OF SERVICE

         I hereby certify that on October 28, 2022, I presented the foregoing
         paper to the Clerk of the Court for filing and uploading to the ECF
         system, which will send notification of such filing to the parties
         involved.

                                       /s/ Ronald W. Chapman II
                                       Ronald W. Chapman II, Esq., LL.M.
                                       Michigan Bar No. P73179
                                       Counsel for Defendant Ghearing
                                       1441 West Long Lake Road, Ste 310
                                       Troy, MI 48098
                                       T: (248) 644-6326
                                       RWChapman@ChapmanLawGroup.com




                                   5
Case 2:19-cr-00010 Document 168 Filed 10/28/22 Page 5 of 5 PageID #: 1098
